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       Exhibit C
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From:                      Snyder, Orin
Sent:                      Monday, August 1, 2022 1:10 PM
To:                        Daniel R. Benson
Cc:                        Marc A. Weinstein; Daniel A. Saunders; Sarah G. Leivick; Andrew R. Kurland; Hewett, Martin A.;
                           Ascher, Brian C.; Ahmad, Zainab; Wesneski, Joshua
Subject:                   Re: Broidy v. Global Risk Advisors


We do not consent.


Sent from my iPhone

On Aug 1, 2022, at 12:12 PM, Daniel R. Benson <DBenson@kasowitz.com> wrote:


[WARNING: External Email]
Orin and Marc,

We write to advise you that Plaintiffs plan to request a pre‐motion conference with the Court in advance of filing a
motion for their attorneys’ fees incurred since August 2020 in connection with Plaintiffs’ planned motion to disqualify
Gibson Dunn in this action. Plaintiffs will also seek permission from the Court to take discovery from Gibson Dunn
concerning information related to Plaintiffs that Ms. Ahmad obtained through her prior employment at DOJ, including
by serving a subpoena requesting all communications and other documents containing, referring to or reflecting any
such information and deposing Ms. Ahmad.

Please let us know if you consent to this relief by 5:00 pm today.

Best,

Dan




Daniel R. Benson
Kasowitz Benson Torres LLP
1633 Broadway
New York, New York 10019
(212) 506-1720 (office)
(917) 880-8690 (mobile)
(212) 506-1849 (fax)

DBenson@kasowitz.com




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